            Case 1:23-cv-03032-MKV Document 20 Filed 04/13/23 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 ALVIN L. BRAGG, JR., in his official capacity as
 District Attorney for New York County

 Plaintiff,                                                         Case No. 1:23-cv-03032-MKV

       v.

 JIM JORDAN, in his official capacity as Chairman of the
 Committee on the Judiciary, et al.,

 Defendants.


                                     NOTICE OF ERRATA

        On April 11, 2023, I submitted the Declaration of Theodore J. Boutrous, Jr. (ECF No. 12,

the “Declaration”) to place before the Court certain documents in connection with Plaintiff’s

Motion for a Temporary Restraining Order and Preliminary Injunction. It has come to Plaintiff’s

attention that one of the documents attached thereto, Exhibit 55, was filed with a slip-sheet

misidentifying it as Exhibit 58. See ECF No. 12-58. Accordingly, I respectfully request that

Exhibit 55 to the Declaration be deemed replaced with the attached copy of Exhibit 55, a true

and correct copy of the same document with a corrected slip-sheet.


Dated: New York, New York
       April 13, 2023


                                                             /s/ Theodore J. Boutrous, Jr.
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